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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )    Chapter 11
                                                             )
    PERFORMANCE POWERSPORTS                                  )    Case No. 23-10047 (LSS)
    GROUP INVESTORS, LLC, et al.,1                           )
                                                             )
                                       Debtors.              )    Obj. Deadline: September 27, 2023 at 4:00 p.m.
                                                             )    Hearing Date: October 4, 2023 at 10:00 a.m.

        DEBTORS’ MOTION FOR ENTRY OF AN ORDER AUTHORIZING (A)
       TEMPORARY ALLOWANCE OF CLAIM FOR VOTING PURPOSES AND (B)
     AMENDMENT OF PLAN VOTE AMOUNT PURSUANT TO BANKRUPTCY RULE 3018

             The debtors and debtors in possession in the above-captioned chapter 11 cases

(collectively, the “Debtors”), by and through their undersigned counsel, submit this motion (the

“Motion”) for entry of an order, substantially in the form attached hereto as Exhibit A (the

“Order”), pursuant to Rule 3018 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) authorizing the (a) temporary allowance of the claim of Richard Godfrey (“Godfrey”) in

the amount of $22,500,000 for plan voting purposes only and (b) amendment of the Class 5 Plan

vote of Godfrey to the amount of $22,500,000. In support of this Motion, the Debtors respectfully

state as follows:

                                             Jurisdiction and Venue

             1.    The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated


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      The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective federal
      tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068); Performance
      Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533); and
      Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
      University Drive, Tempe, Arizona 85281.



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February 29, 2012. The Debtors confirm their consent, pursuant to Bankruptcy Rule 7008 and

Rule 90013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the Bankruptcy Court

for the District of Delaware (the “Local Rules”) to the entry of a final order by the Court in

connection with this Motion to the extent that it is later determined that the Court, absent consent

of the parties, cannot enter final orders or judgments in connection herewith consistent with Article

III of the United States Constitution.

         2.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2).

         3.        The legal bases for the relief sought herein are sections 105(a) and 502(b) of

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and Bankruptcy Rule

3018.

                                           Relief Requested

         4.        The Debtors, with the support of Godfrey, request entry of an order (a) temporary

allowing of the claims of Godfrey in the amount of $22,500,000 for plan voting purposes only and

(b) the amendment of the Class 5 Plan vote of Godfrey to the amount of $22,500,000.

                                             Background

         5.        On January 16, 2023 (the “Petition Date”), the Debtors each filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code.

         6.        On March 27, 2023, the Court entered an order approving the sale of substantially

all of the Debtors’ assets [Docket No. 270] (the “Sale Order”). The Sale Order approved an asset

purchase agreement that set forth the terms of the sale from the Debtors to CPS USA Acquisition,

LLC (together with its permitted successor, designees, and assigns, the “Buyer”). The sale to the

Buyer closed on March 31, 2023.




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         7.        On April 24, 2023, Godfrey filed claim number 27 in the amount of $62,640,000

alleging claims for “breach of contract” (the “Godfrey Claim”).2

         8.        On June 15, 2023, the Debtors filed the solicitation version of the Debtors'

Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code Dated June

12, 2023 [Docket No. 385] (as amended, modified, or supplemented, the “Plan”) and the

Disclosure Statement with Respect to Debtors' Amended Joint Plan of Liquidation Pursuant to

Chapter 11 of the Bankruptcy Code Dated June 12, 2023 [Docket No. 386].

         9.        On August 7, 2023, the Debtors filed the Debtors' (A) Objection to Proof of Claim

No. 27 Filed by Richard Godfrey and (B) Motion to Designate Plan Vote of Richard Godfrey

Pursuant to 11 U.S.C. § 1126(e) [Docket No. 437] (the “Claim Objection/Designation Motion”).

         10.       On August 7, 2023, Godfrey filed the Objection and Reservation of Rights of

Creditor Richard Godfrey to Confirmation of Debtors' Amended Joint Plan of Liquidation

Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 439] (the “Godfrey Plan Objection”).

         11.       Godfrey also timely submitted a Class 5 ballot in the amount of $62,640,000 voting

to reject the Plan.

         12.       The hearing to consider confirmation of the Plan was originally scheduled for July

24, 2023 at 2:00 p.m., continued to September 11, 2023 at 1:00 p.m., and further continued to and

is scheduled for October 4, 2023 at 10:00 a.m. (the “Confirmation Hearing”).

         13.       Rather than embark on costly discovery and litigation, the Debtors, Godfrey, and

the Buyer—while keeping both the Office of the United States Trustee and counsel for Chongqing

Huansong Industries (Group) Co., Ltd., Chongqing Huansong Science and Technology Industrial



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    On April 22, 2023, Claimant filed proof of claim number 25, which was subsequently amended on April 24, 2023,
    by proof of claim number 27.



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Co., Ltd., Vietnam New Century Industrial Company Limited (collectively, “Hisun”), fully

informed—resolved their differences related to the Claim Objection/Designation Motion and Plan

Objection, as well as informal issues raised by the U.S. Trustee and Hisun. To implement these

resolutions, the Debtors have filed (a) the Stipulation Among the Debtors, Richard Godfrey and

Kinderhook Industries, LLC and its Affiliated Companies With Respect to (I) the Debtors' (A)

Objection to Proof of Claim No. 27 Filed by Richard Godfrey and (B) Motion to Designate Plan

Vote of Richard Godfrey Pursuant to 11 U.S.C. § 1126(e), (II) Objection and Reservation of Rights

of Creditor Richard Godfrey to Confirmation of Debtors' Amended Joint Plan of Liquidation

Pursuant to Chapter 11 of the Bankruptcy Code and (III) the Discovery Related Thereto [Docket

No. 462] (the “Stipulation”), a copy of which is attached hereto as Exhibit B, (b) the Debtors'

Second Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code dated

September 15, 2023 [Docket No. 463] (the “Second Amended Plan”), and (c) this Motion.

         14.       The Stipulation provides, among other things: (a) that Godfrey amend proof of

claim no. 27 amount to $22,500,000; (b) for the filing of this Motion to authorize (i) the temporary

allowance of the Godfrey Claim in the amount of $22,500,000 for plan voting purposes only and

(ii) the amendment of Godfrey’s Class 5 Plan vote on account of the Godfrey Claim to the amount

of $22,500,000; (c) that the Debtors file the Second Amended Plan; (d) that Godfrey withdraw his

Plan Objection; (e) that the Debtors will withdraw the Claim Objection/Designation Motion

without prejudice; (f) that the Scheduling Order [Docket No. 457] be deemed no longer applicable

and all outstanding discovery be withdrawn; and (g) that Godfrey and Kinderhook Industries, LLC

and its affiliated companies agree to a standstill of litigation between themselves.

         15.       The Debtors intend to incorporate the Stipulation into the proposed order

confirming the Debtors’ Second Amended Plan.




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                                              Argument

         A.        Temporary Allowance of the Godfrey Claim For Voting Purposes Only is
                   Warranted.

         16.       Pursuant to Bankruptcy Rule 3018(a), “[n]otwithstanding objection to a claim or

interest, the court after notice and hearing may temporarily allow the claim or interest in an amount

which the court deems proper for the purpose of accepting or rejecting a plan.” Fed. R. Bankr. P.

3018(a). The policy behind temporarily allowing claims is “to prevent possible abuse by plan

proponents” who attempt to ensure acceptance of a plan by gaming the system through objections

to the claims of dissenting creditors. In re Armstrong, 292 B.R. 678, 686 (10th Cir. BAP 2003);

see also In re Harmony Holdings, LLC, 395 B.R. 350, 353–54 (Bankr. D. S.C. 2008) (“[O]ne can

easily visualize a situation where it would be grossly unfair and unjust to disenfranchise any claim

or interest just because a debtor interposed an objection to the allowance of the claim or interest. .

. . To achieve justice, some discretion must be left to the court to deal with the problem just

described.”) (internal quotation marks and citation omitted). In short, Bankruptcy Rule 3018(a)

“was designed to give all creditors, even those holding disputed claims, the opportunity to vote.”

In re Century Glove, Inc., 88 B.R. 45, 46 (Bankr. D. Del. 1988) (emphasis added).

         17.       The decision to grant temporary allowance of a claim for voting purposes under

Bankruptcy Rule 3018 is at the reasonable discretion of the bankruptcy court. See Pension Ben.

Guar. Corp. v. Enron Corp., No. 04 CIV. 5499 (HB), 2004 WL 2434928, at *5 (S.D.N.Y. Nov. 1,

2004). There is, however, a presumption in favor of temporarily allowing a disputed claim for

purposes of voting. See In re Amarex Inc., 61 B.R. 301, 303 (Bankr. W.D. Okla. 1985) (“[T]o

allow [the disputed claims] to vote on the plans, even though some may be eventually disallowed

for purposes of distribution, is more in keeping with the spirit of chapter 11 which encourages

creditor vote and participation in the reorganization process.”).



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         18.       The Debtors, with the agreement and support of Godfrey, submit that the Court

should temporarily allow the Godfrey Claim for voting purposes only as agreed among the parties.

Although Bankruptcy Rule 3018(a) requires a hearing for calculating a claim, only a “summary-

type hearing is contemplated.” In re Zolner, 173 B.R. 629, 633 (Bankr. N.D. Ill. 1994); see also,

e.g., In re FRG, Inc., 121 B.R. 451, 456 (Bankr. E.D. Pa. 1990) (stating that for the calculation

pursuant to Bankruptcy Rule 3018(a), “a very truncated trial process may be developed which is

consistent with the dictates of due process of law”). Here the parties have agreed on the amount

of the claim to be temporarily allowed for plan voting purposes only, so no hearing to calculate

the claim is necessary. Temporarily allowing the Godfrey Claim for voting purposes is both fair

and equitable to all parties involved.

         B.        Permitting Godfrey to Amend the Amount of his Class 5 Ballot is Warranted.

         19.       Bankruptcy Rule 3018 provides in relevant part as follows: “[f]or cause shown, the

court after notice and hearing may permit a creditor or equity security holder to change or withdraw

an acceptance or rejection.”

         20.       Here, the Debtors—with the agreement and support of Godfrey—are not seeking

to change Godfrey’s Plan vote from rejection to acceptance or from acceptance to rejection of the

Plan. Rather, the parties have agreed that the Plan vote amount be amended to reflect the amended

amount of the Godfrey Claim, only for Plan purposes. Doing so will avoid costly and unnecessary

discovery and litigation and clearly reflects sufficient cause for the relief requested in the Motion.

                                         Reservation of Rights

         21.       The Debtors reserve the right to amend, modify, or supplement this Motion and. to

respond to any objections to this Motion.




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                                           No Prior Request

         22.       No previous request for the relief sought herein has been made to this Court or any

other court.

         WHEREFORE, the Debtors respectfully request that the Court enter an Order, substantially

in the form attached hereto as Exhibit A, (a) temporarily allowing the Godfrey Claim in the

amount of $22,500,000 for plan voting purposes only, (b) authorizing the amendment of the Class

5 Plan vote of Godfrey to the amount of $22,500,000, and (c) granting such other and further relief

as is appropriate under the circumstances.


 Dated: September 15, 2023                  /s/ Domenic E. Pacitti
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